
23 So.3d 951 (2009)
J. Robert WOOLEY, As Commissioner of Insurance for the State of Louisiana
v.
Thomas S. LUCKSINGER, Michael D. Nadler, Stephen J. Nazarenus, Scott Westbrook, Michael K. Jhin, William F. Galtney, John P. Mudd, Executive Risk Indemnity, Inc., Executive Risk Management Associates, Executive Risk Specialty Insurance Co., Executive Liability Underwriters and Greenwich Insurance Co., AmCareCo, Inc., AmCare Management, Inc.
J. Robert Wooley, Commissioner of Insurance for The State of Louisiana, In His Capacity as Liquidator of AmCare Health Plans of Louisiana
v.
Foundation Health Corporation, Foundation Health Systems, Inc., Health Net, Inc.
J. Robert Wooley, Commissioner of Insurance for The State of Louisiana, As Liquidator for AmCare Health Plans of Louisiana, Inc., In Receivership
v.
Pricewaterhousecoopers, LLP.
No. 2009-C-0586.
Supreme Court of Louisiana.
December 18, 2009.
Granted. C/W-09-C-0571, 0584 &amp; 0585.
